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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF ILLINOIS


   TARA EVANS, individually, and on behalf                  Case No. 21-cv-1263
   of all others similarly situated,

              Plaintiff,

   v.                                                       CLASS ACTION

   PFIZER, INC.,                                            JURY TRIAL DEMAND

              Defendant.


                                   CLASS ACTION COMPLAINT

         Plaintiff Tara Evans (“Plaintiff”), by and through her undersigned counsel, brings this

action individually and on behalf of all others similarly situated, to seek economic damages for

those who paid for or made reimbursements for generic varenicline-containing drugs (“VCDs”)

that were illegally and willfully manufactured, distributed, and/or introduced into the market by

Defendant Pfizer, Inc. (“Pfizer”).

                                            INTRODUCTION
         1.         This case arises from adulterated, misbranded, and unapproved varenicline-

containing drugs (“VCDs”) that were designed, manufactured, marketed, distributed, packaged,

and/or ultimately sold by Defendant Pfizer, Inc., in the United States under the brand name

Chantix®. These VCDs are non-merchantable, and are not of the quality represented by Defendant.

         2.         The brand name drug Chantix is known generically as varenicline (as the tartrate

salt) and is a partial nicotine agonist. It is a first-line therapy in the treatment to aid in smoking

cessation. Unlike many other smoking cessation aids, Chantix does not contain nicotine.

         3.         Pfizer obtained approval from the United States Food and Drug Administration

(“FDA”) to sell Chantix as a first-of-its-kind treatment in May 2006.


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        4.       Chantix quickly became one of Pfizer’s fastest growing products. Major media

spending on Chantix totaled $55 million in 2007 (the year after its approval). In the year Chantix

was launched, Pfizer spent $4.3 million in medical journal advertisements alone.

        5.       The market rapidly embraced Chantix, and continues to do so to this day. For

example, from launch through 2015, the number of Chantix prescriptions amongst Medicaid

beneficiaries increased 13,277% (thirteen-thousand, two-hundred seventy-seven percent).1

        6.        The price for Chantix has steadily climbed since its launch. Price estimates at

launch were approximately $113.98, which climbed to $254.50 as of 2015. In 2018, the price

nearly doubled to $485 for a 30-day supply, bringing in $997 million in sales that year.2

        7.       The market for smoking cessation treatments remains robust and continues to grow.

Pfizer’s Chantix sales remain strong, with sales of at least $919 million last year. Indeed, Chantix

was Pfizer’s eighth-best-selling product in 2020. To this day, Chantix remains one of the few, and

most prevalent, smoking cessation drug treatments, and one of Pfizer’s top drug products. Pfizer

extended patent protection on Chantix to ensure exclusivity through at least August 2022, thus

ensuring Pfizer’s Chantix is the exclusive varenicline product without generic competition

currently.

        8.       At all pertinent times for this action, Defendant represented and warranted to

consumers that its VCDs were therapeutically equivalent to and otherwise the same as the FDA-

approved brand name drug Chantix. Specifically, Defendant represented and warranted that the

VCDs were fit for their ordinary uses, met the specifications of Defendant’s FDA-approved



1
  Xiaomeng Yue, et al., TRENDS IN UTILIZATION, SPENDING, AND PRICES OF SMOKING-CESSATION MEDICATIONS IN
MEDICAID PROGRAMS: 25 YEARS EMPIRICAL DATA ANALYSIS, 1991-2015, Am. Health Drug Benefits 2018 Sep;
11(6):275-285, at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6207314/ (last accessed Sept. 27, 2021).
2
  Price of Pfizer’s smoking-cessation drug Chantix doubles in just 5 years: report, Fierce Pharma (June 26, 2018) at
https://www.fiercepharma.com/pfizer-hikes-price-smoking-cessation-drug-chantix-106-5-years-report (last accessed
Sept. 27, 2021).


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labeling materials, and were manufactured and distributed in accordance with all applicable laws

and regulations.

        9.       However, Defendant willfully ignored warnings about the operating standards, and

knowingly and fraudulently manufactured, sold, labeled, marketed, and/or distributed adulterated

and/or misbranded VCDs for purchase in the United States by consumers.

        10.      Defendant’s VCDs were adulterated and/or misbranded (and thereby rendered

worthless) through contamination with a probable human carcinogen known as n-nitroso-

varenicline. Additionally, Defendant was on notice of other potential nitrosamines as well, such

as n-nitrosdimethylamine (“NDMA”) and n-nitrosodiethlamine (“NDEA”).

        11.      According to the FDA and other global health authorities, nitrosamines are

dangerous probable human carcinogens.

        12.      According to FDA testing, the VCDs subject to this action contained NDMA

contamination levels many times higher than the FDA’s updated interim limits for NDMA and

other nitrosamine impurities.

        13.      On July 2, 2021, and July 19, 2021, Pfizer initiated recalls of VCDs “because [the

product] may contain levels of a nitrosamine impurity, called N-nitroso-varenicline, above FDA’s

acceptable intake limit.”3 The FDA has yet to release full testing results for other nitrosamine

impurities. On September 16, 2021, Pfizer extended its recall to all Chantix.4

        14.      Upon information and belief, N-nitroso-varenicline contamination of Defendant’s

VCDs dates back many years, at which point Defendant had actual and/or constructive notice of




3
  FDA Updates and Press Announcements on Nitrosamine in Varenicline (Chantix) at
https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-and-press-announcements-nitrosamine-
varenicline-chantix (last accessed Sept. 27, 2021).
4
  https://www.fda.gov/safety/recalls-market-withdrawals-safety-alerts/pfizer-expands-voluntary-nationwide-recall-
include-all-lots-chantixr-varenicline-tablets-due-n (last accessed Sept. 27, 2021).


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the contamination.

       15.     Ironically, the Defendant’s wrongful acts resulted in persons who sought to use

smoking products less receiving a Chantix pill that contained a carcinogen.

       16.     The Class Members paid for VCDs that were illegally and willfully introduced into

the market by Defendant, which caused them and the millions of other VCD consumers to sustain

economic damages. Defendant’s VCDs were not fit for their ordinary use and Defendant has been

unjustly enriched through the sale of these knowingly adulterated and/or misbranded drugs.

Defendant’s conduct, as detailed in this Complaint, also constitutes actionable common law fraud,

consumer fraud, and other violations of state and federal law.

                                             PARTIES
   A. Plaintiff
       17.     Plaintiff Tara Evans is a citizen and resident of Olney, Illinois. During the class

period, Plaintiff paid money for one or more of Defendant’s VCDs. The product purchased bore

a unique National Drug Code (“NDC”) which denoted that it was indeed sold, manufactured,

and/or distributed into the United States supply chain by Defendant. Defendant expressly and

impliedly warranted to Plaintiff (either directly or indirectly by adopting warranties that were

passed along to and incorporated by another entity further downstream and as mentioned in this

paragraph) that its VCDs were the same as the branded Chantix. But in fact, Plaintiff bought a

product that was not the same as Chantix. Had Plaintiff known the product was not the same,

Plaintiff would not have paid for Defendant’s VCDs. Likewise, had Defendant’s deception about

the impurities within its products been made known earlier, Plaintiff would not have paid for

Defendant’s VCDs.

   B. Defendant
       18.     Defendant Pfizer, Inc. (“Pfizer”) is a Delaware corporation with its principal place


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of business at 235 East 42nd Street, New York, NY 10017. Pfizer on its own and/or through its

subsidiaries regularly conducts business throughout the United States and its territories and

possessions. At all times material to this case, Pfizer has been engaged in the manufacturing, sale,

and distribution of adulterated and/or misbranded generic VCDs in the United States.

                                 JURISDICTION AND VENUE

        19.    This Court may assert subject matter jurisdiction over this matter pursuant to the

Class Action Fairness Act, 28 U.S.C. § 1332(d) et seq., because this case is a class action in which

the matter in controversy exceeds the sum or value of $5,000,000, exclusive of interest and costs;

there are greater than 100 putative class members; at least one putative class member is a citizen

of a state other than Defendant; and none of the exceptions under subsection 1332(d) apply.

        20.    The Court may assert personal jurisdiction over Defendant, because Defendant is

doing business within this State and transacts business within this State such that it has sufficient

minimum contacts with Illinois and/or has purposely availed itself of Illinois markets to make it

reasonable for this Court to exercise jurisdiction over Defendant, and because Plaintiff’s claims

arise out of Defendant’s unlawful in-state actions.

        21.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), because Defendant

resides and is doing business within this District and because the transaction out of which this

cause of action arises occurred in this District.

                                     FACTUAL ALLEGATIONS
  I.    Background
        A. Prescription Drug Reimbursement
        22.    The pharmaceutical supply chain in the United States consists of four major actors:

pharmaceutical manufacturers, wholesale distributors, pharmacies, and Pharmacy Benefit

Managers (“PBMs”).


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       23.     Pharmaceutical manufacturers produce drugs that they distribute to wholesale

distributors, who further distribute to retail or mail-order pharmacies. Pharmacies dispense the

prescription drugs to beneficiaries for consumption. Prescription drugs are processed through

quality and utilization management screens by PBMs.

       24.     Third-party payors (“TPPs”) contract with and pay PBMs to administer their drug

programs. PBMs, acting as agents for the TPPs, are tasked with developing drug formularies (the

list of drugs included in coverage at various pricing “tiers”), processing claims, creating a network

of retail pharmacies, and negotiating with pharmaceutical manufacturers. TPPs pay PBMs to

control prescription drug costs. In some instances, PBMs are responsible for placing generic drugs,

such as VCDs, on the TPPs’ formularies.

       25.     In conducting formulary management, TPPs and their PBMs reasonably expect that

generic prescription drugs reimbursable on their formularies are bioequivalent or otherwise the

same as their RLD counterparts. TPPs seek to include the lowest cost generic drugs possible in

their formularies. This is only made possible because of the manufacturers’ and distributors’

representations that these generic drugs, such as the Defendant’s VCDs, comply with their

respective ANDAs, which state that the generic drugs are bioequivalent to their respective branded

drug. Thus, the TPPs permitted the VCDs to be included on their formularies based on the

Defendant’s misrepresentations that their VCDs were bioequivalent to Chantix, complied with all

current Good Manufacturing Practices (“cGMPs”), and were safe for consumption.

       26.     The formulary placement corresponds with the amount that a plan participant must

contribute as a co-payment when purchasing a drug — the higher the placement, the lower the co-

payment, and the higher likelihood that plan beneficiaries will purchase the drug instead of a more

expensive alternative. As a result, higher formulary placement increases the likelihood that a




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doctor will prescribe the drug. TPPs provide copies of their PBMs’ formularies to providers,

pharmacists, and patients in their network to aid prescribers’ adherence to the formulary.

        27.      The following chart, published by the Wall Street Journal, broadly illustrates the




pharmaceutical supply chain:5

        28.      When a patient presents his or her prescription at a pharmacy, the drug’s placement

on the TPP’s formulary will determine the amount of the patient’s co-payment. Once the patient’s

prescription is filled, the pharmacy submits a claim to the PBM for reimbursement. PBMs then

accumulate those individual reimbursements and present them to TPPs for payment.

    B. Prescription Drug Product Identification and Tracing

        29.      For each approved product (whether brand or generic) the FDA issues a unique 10-

digit code (the National Drug Code, or NDC) that follows the product from manufacturing through

retail dispensing. The NDC embeds details about the specific product, including the identity of the

manufacturer (or labeler), the strength, dosage form, and formulation of the drug, and the package




5
 Joseph Walker, Drugmakers Point Finger at Middlemen for Rising Drug Prices, WALL ST. J. (Oct. 3, 2016), available
at https://www.wsj.com/articles/drugmakers-point-finger-at-middlemen-for-rising-drug-prices-1475443336 (last
accessed June 11, 2019).




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size and type.6

         30.      The NDC is a critical component of each and every transfer of a prescription drug

(from the manufacturer to the wholesaler; from the wholesaler to the retailer; and from the retailer

to the consumer) and therefore every transaction is accompanied by and labeled with the NDC.

This same code is used by TPPs in the real-time claims adjudication process to identify the precise

dollar amount they will reimburse the pharmacy for a particular prescription drug purchase.

         31.      Retail prescription labels display the NDC of the dispensed product, which is part

of the electronic dispensing record. In many cases, the “lot” number will also appear on the

prescription bottle provided to the consumer and, thus, specifically indicate whether the recall

applies to the particular pills in the bottle.7

         32.      The lot number is also used to report issues arising around a particular drug. For

example, lot numbers are used by pharmacists to report Adverse Events (“AE”) (i.e., patient-

specific side effects or complications associated with the use of a prescription drug). This is an

important part of drug safety monitoring in the United States and has led to recalls or relabeling of

numerous drugs. Pharmacists make such reports using the FDA’s MedWatch system using Form

3500.8

    C. The Drug Supply Chain Security Act Requires Tracing of Product

         33.      The Drug Supply Chain Security Act (“DSCSA”)9 was enacted in 2013, and

requires prescription drug manufacturers, wholesalers, repackagers, and pharmacies to


6
   United States Food and Drug Administration, “National Drug Code Directory,” accessed June 9, 2021 at
https://www.fda.gov/Drugs/InformationOnDrugs/ucm142438.htm; FDA, “National Drug Codes Explained,”
accessed June 9, 2021 at https://www.drugs.com/ndc.html.
7
  A lot number is an identification number tied to a particular lot of pills from a single manufacturer.
8
     FDA, “Instructions for Completing Form FDA 3500,” accessed June 9, 2021 at
https://www.fda.gov/safety/medwatch-forms-fda-safety-reporting/instructions-completing-form-fda-
3500#Section%20B:%20Adverse%20Event%20or%20Product%20Problem.
9
  21 U.S. Code § 360eee.




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“[e]xchange information about a drug and who handled it each time it is sold in the U.S. market.”

          34.    The DSCSA was implemented as one part of the Drug Quality and Security Act

(“DQSA”), aimed at addressing vulnerabilities in the drug supply chain, and facilitating tracing of

certain prescription drugs in finished dosage form through the supply chain. 10

          35.    While the DSCSA was enacted in 2013, participants in the pharmaceutical supply

chain (including various Defendant here) maintained similar information as a part of their ordinary

course of business prior to the enactment of the DSCSA.

          36.    The DSCSA generally requires participants in the drug supply manufacturing chain

(starting from the manufacturer, through the wholesaler, to the retail pharmacy) to retain, for every

pharmaceutical drug transaction, the following information about that transaction: product name;

National Drug Code; container size; number of containers; lot number; date of transaction; date of

shipment; and name and address of the entity transferring ownership and taking ownership of the

product.

          37.    The DSCSA requires that this data be kept in a manner to allow these authorized

participants to respond within 48 hours to requests from appropriate federal or state officials — in

the event of a recall or for the purpose of investigating suspect product or an illegitimate product

— for the transaction history of the pharmaceutical product. 11

          38.    The supply chain for distribution of prescription drugs in the U.S. is highly

concentrated. This means that data obtained from a relatively small number of market participants

can provide detailed information about the large majority of VCD sales, transfers and prescription

fills.


10
   U.S. Department of Health and Human Services, Drug Supply Chain Security: Dispensers Received Most Tracing
Information, March 2018, accessed March 11, 2020 at https://oig.hhs.gov/oei/reports/oei-05-16-00550.pdf, at p. 2.
11
   FDA, Title II of the Drug Quality and Security Act, December 16, 2014, accessed March 11, 2020 at
https://www.fda.gov/drugs/drug-supply-chain-security-act-dscsa/title-ii-drug-quality-and-security-act.


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        39.      The entire process of reimbursing pharmacies and consumers for end-purchases

depends upon the ability to know the precise drug and packaging that was dispensed, as well as

the manufacturer of that drug. This system has necessarily resulted in very high levels of data

standardization in this industry. Although pharmacies maintain their own “pharmacy log” data

reflecting dispensing, sales and return activity, the key elements are fundamentally similar.

        40.      Because pharmacies require similar information for their own tracking and

inventory systems, and wholesalers sell to multiple pharmacy chains, the key elements are

fundamentally the same.

        41.      Further, all pharmacies must use the basic data fields, definitions and formats

provided in the Telecommunications Guidelines developed by the National Council for

Prescription Drug Programs, the use of which was made mandatory in 2003 under regulations

implementing the Health Insurance Portability and Accountability Act (HIPAA).12 Because of

these HIPAA requirements, all of these inter-related systems (Manufacturers, Wholesalers,

Retailers, and TPPs) use a common language to identify products.

        42.      As a general matter, for Medicare and Medicaid compliance, pharmacies typically

keep prescription records for ten years.13

        43.      A key part of the DSCSA is the requirement that “product tracing information

should be exchanged” for each transaction and retained for at least six years, 14 including the

following transaction information (“TI”):15

                             Proprietary or established name or names of the product

12
   Federal Register, August 17, 2000 (Volume 65, Number 160), at pp. 50311-50372; NCPDP, Pharmacy: A
Prescription for Improving the Healthcare System, October 2009, accessed January 30, 2019 at
https://www.ncpdp.org/NCPDP/media/pdf/wp/RxforImprovingHealthcare.pdf, at p. 14.
13
   CFR § 423.505(d)
14
   FDA, Protect Your Patients, accessed June 9, 2021 at https://www.fda.gov/media/113114/download; DSCSA,
Sections 582 (b)(1)(A)(ii), 582 (c)(bb)(BB)(II)(v)(I), 582 (d)(1)(A)(iii).
15
   FDA, Drug Supply Chain Security Act (Title II of the Drug Quality and Security Act) Overview of Product Tracing
Requirements, September 2015, accessed June 9, 2021 at https://www.fda.gov/media/93779/download, at pp. 8-9.


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                             Strength and dosage form of the product
                             National Drug Code (NDC) number of the product
                             Container size
                             Number of containers
                             Lot number of the product
                             Date of the transaction
                             Date of the shipment, if more than 24 hours after the date of the
                              transaction
                             Business name and address of the person from whom and to whom
                              ownership is being transferred

        44.      For example, the DSCSA also mandates use of a composite “product identifier”

that Defendant was required to begin applying to prescription drug packages and cases.16

        45.      The term “product identifier” “means a standardized graphic that includes, in both

human-readable form and on a machine-readable data carrier … the standardized numerical

identifier, lot number, and expiration date of the product.”17

        46.      Publicly available Guidelines published by AmerisourceBergen require that “each

Prescription Drug lowest saleable unit” received from a manufacturer must have the clearly

indicated product identifier on the unit label.18 In addition, case labels, and partial case labels must

list the lot number and expiration date.19 The Guidelines illustrate these requirements as

reproduced below.




16
   Enforcement of this rule was delayed by the FDA until November 2018. DA, Product Identifier Requirements Under
the Drug Supply Chain Security Act – Compliance Policy Guidance for Industry, September 2018, accessed June 9,
2021         at       https://www.fda.gov/regulatory-information/search-fda-guidance-documents/product-identifier-
requirements-under-drug-supply-chain-security-act-compliance-policy-guidance.
17
   21 U.S. Code § 360eee.(14).
18
   AmerisourceBergen, AmerisourceBergen Manufacturer Packaging and Logistics Requirements Guide, accessed
June 9, 2021 at https://www.amerisourcebergen.com/-/media/assets/amerisourcebergen/manufacturer/manufacturer-
logistics-guideline-final-v14.pdf?la=en&hash=5297B4C716DBBE9A956F31CD2B194BD165F97465, at p. 14.
19
   AmerisourceBergen, AmerisourceBergen Manufacturer Packaging and Logistics Requirements Guide, accessed
February                 25,              2020               at              https://www.amerisourcebergen.com/-
/media/assets/amerisourcebergen/manufacturer/manufacturer-logistics-guideline-final-
v14.pdf?la=en&hash=5297B4C716DBBE9A956F31CD2B194BD165F97465, at pp. 15-16.




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                   AmerisourceBergen Manufacturer Labeling Requirements20




20
  AmerisourceBergen, AmerisourceBergen Manufacturer Packaging and Logistics Requirements Guide, accessed
June 9, 2021 at https://www.amerisourcebergen.com/-/media/assets/amerisourcebergen/manufacturer/manufacturer-
logistics-guideline-final-v14.pdf?la=en&hash=5297B4C716DBBE9A956F31CD2B194BD165F97465, at pp. 14, 15,
16.


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       D. The Drug Approval Framework

           47.      Brand drug companies submitting a New Drug Application (“NDA”) must

demonstrate clinical safety and efficacy through well-designed clinical trials. 21 U.S.C. § 355 et

seq.

           48.      The NDA is the vehicle through which drug sponsors formally propose that the

FDA approve a new drug for sale and marketing in the United States.

           49.      An NDA is supposed to provide enough information to permit the FDA to decide

(i) whether the drug is safe and effective for its proposed use(s) and whether the benefits of the

drug outweigh the risks; (ii) whether the drug’s proposed labeling is appropriate and what it should

contain; and (iii) whether the methods used in manufacturing the drug and the controls used to

maintain the drug’s quality are adequate to preserve the drug’s identity, strength, quality, and

purity.21

           50.      As the FDA puts it, the submitted NDA documentation “is supposed to tell the

drug’s whole story,” including “what the ingredients of the drug are.”22

           51.      If a branded drug manufacturer ceases to manufacture a drug that meets all terms

of its NDA approval, or in other words, when the drug is not the same as its corresponding brand-

name drug, then the manufacturer has created an entirely new and unapproved drug.

           52.      If a branded drug manufacturer ceases to manufacture a drug that meets all terms

of its NDA approval, or in other words, when the drug is not the same as its corresponding brand-

name drug, the generic manufacturer may no longer rely on the brand-name drug’s labeling.

       E. Approval of the NDA for Chantix

           53.      Chantix is known generically as varenicline (as the tartrate salt), and is a partial


21
     See, e.g., https://www.fda.gov/drugs/types-applications/new-drug-application-nda (last accessed Sept. 27, 2021).
22
     Id.


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nicotine agonist. It is a first-line therapy in the treatment to aid in smoking cessation. At a very

high level,. The drug works by interfering with the nicotine receptors in the human brain. This has

the effect of lessening the pleasure a person gets from smoking, or lessening the craving to smoke.

       54.     The FDA approved Chantix in May 2006. Pfizer later succeeded in extending its

patent exclusivity for Chantix through August 2022, meaning Chantix has not faced generic drug

competition since its launch.

       55.     Chantix’s FDA-approved labeling specifies the active and inactive ingredients.

Neither N-nitroso-varenicline nor NDMA nor any other nitrosamine is listed among the FDA-

approved ingredients nor are any of these contaminants FDA-approved ingredients of any

varenicline-containing product.

   F. Drugs Must Be Manufactured in Compliance with Good Manufacturing Practices

       56.     Under federal law, pharmaceutical drugs must be manufactured in accordance with

“current Good Manufacturing Practices” (“cGMPs”) to ensure they meet safety, quality, purity,

identity, and strength standards. See 21 U.S.C. § 351(a)(2)(B).

       57.     21 C.F.R. § 210.1(a) states that the cGMPs establish “minimum current good

manufacturing practice for methods to be used in, and the facilities or controls to be used for, the

manufacture, processing, packing, or holding of a drug to assure that such drug meets the

requirements of the act as to safety, and has the identity and strength and meets the quality and

purity characteristics that it purports or is represented to possess.” In other words, entities at all

phases of the design, manufacture, and distribution chain are bound by these requirements.

       58.     The FDA’s cGMP regulations are found in 21 C.F.R. Parts 210 and 211. These

detailed regulations set forth minimum standards for: organization and personnel (Subpart B);

buildings and facilities (Subpart C); equipment (Subpart D); control of components and drug




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product containers and closures (Subpart E); production and process controls (Subpart F);

packaging and label controls (Subpart G); holding and distribution (Subpart H); laboratory controls

(Subpart I); records and reports (Subpart J); and returned and salvaged drug products (Subpart K).

The FDA has worldwide jurisdiction to enforce these regulations if the facility is making drugs

intended to be distributed in the United States.

       59.     Under federal law, cGMPs include “the implementation of oversight and controls

over the manufacture of drugs to ensure quality, including managing the risk of and establishing

the safety of raw materials, materials used in the manufacturing of drugs, and finished drug

products.” 21 U.S.C. § 351(j). Accordingly, it is a cGMP violation for a manufacturer to contract

out prescription drug manufacturing without sufficiently ensuring the continuing quality of the

subcontractors’ operations.

       60.     FDA regulations require a “quality control unit” to independently test drug product

manufactured by another company on contract:

               There shall be a quality control unit that shall have the responsibility
               and authority to approve or reject all components, drug product
               containers, closures, in-process materials, packaging material,
               labeling, and drug products, and the authority to review production
               records to assure that no errors have occurred or, if errors have
               occurred, that they have been fully investigated. The quality control
               unit shall be responsible for approving or rejecting drug products
               manufactured, processed, packed, or held under contract by another
               company. 21 C.F.R. § 211.22(a).


       61.     Indeed, FDA regulations require a drug manufacturer to have “written procedures

for production and process control designed to assure that the drug products have the identity,

strength, quality, and purity they purport or are represented to possess.” 21 C.F.R. § 211.100.

       62.     A drug manufacturer’s “[l]aboratory controls shall include the establishment of

scientifically sound and appropriate specifications, standards, sampling plans, and test procedures



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designed to assure that components, drug product containers, closures, in-process materials,

labeling, and drug products conform to appropriate standards of identity, strength, quality, and

purity.” 21 C.F.R. § 211.160.

           63.      “Laboratory records shall include complete data derived from all tests necessary to

assure compliance with established specifications and standards, including examinations and

assays” and a “statement of the results of tests and how the results compare with established

standards of identity, strength, quality, and purity for the component, drug product container,

closure, in-process material, or drug product tested.” 21 C.F.R. § 211.194.

       G. Adulterated or Misbranded Drugs Are Illegal to Sell

           64.      Any drug not manufactured in accordance with cGMPs is deemed “adulterated” or

“misbranded” and may not be distributed or sold in the United States. See 21 U.S.C. §§ 331(a),

351(a)(2)(B). States have enacted laws adopting or mirroring these federal standards.

           65.      Among the ways a drug may be adulterated and/or misbranded are:

                    a.      “if it has been prepared, packed, or held under unsanitary conditions

                            whereby it may have been contaminated with filth, or whereby it may have

                            been rendered injurious to health”23 ;

                    b.      “if … the methods used in, or the facilities or controls used for, its

                            manufacture, processing, packing, or holding do not conform to or are not

                            operated or administered in conformity with current good manufacturing

                            practice to assure that such drug meets the requirements … as to safety and

                            has   the   identity   and     strength,   and   meets    the   quality      and

                            purity characteristics, which it purports or is represented to possess”24;


23
     21 U.S.C. § 351(a)(2)(A).
24
     21 U.S.C. § 351(a)(2)(B).


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                  c.       “If it purports to be or is represented as a drug the name of which is

                           recognized in an official compendium, and … its quality or purity falls

                           below, the standard set forth in such compendium”25; and/or

                  d.       “If … any substance has been (1) mixed or packed therewith so as to reduce

                           its quality or strength or (2) substituted wholly or in part therefor.”26

         66.      A drug is misbranded:

                  a.       “If its labeling is false or misleading in any particular”27;

                  b.       “If any word, statement, or other information required … to appear on

                           the label or labeling is not prominently placed thereon…in such terms as to

                           render it likely to be read and understood by the ordinary individual under

                           customary conditions of purchase and use”28;

                  c.       If the labeling does not contain, among other things, “the proportion of each

                           active ingredient”29;

                  d.       “Unless its labeling bears (1) adequate directions for use; and (2) such

                           adequate warnings … against unsafe dosage or methods or duration of

                           administration or application, in such manner and form, as are necessary for

                           the protection of users”30;

                  e.       “If it purports to be a drug the name of which is recognized in an official

                           compendium, unless it is packaged and labeled as prescribed therein”31



25
   21 U.S.C. § 351(b).
26
   21 U.S.C. § 351(d).
27
   21 U.S.C. § 352(a)(1).
28
   21 U.S.C. § 352(c).
29
   21 U.S.C. § 352(e)(1)(A)(ii)
30
   21 U.S.C. § 352(f).
31
   21 U.S.C. § 352(g).




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                  f.        “if it is an imitation of another drug”32;

                  g.        “if it is offered for sale under the name of another drug”33;

                  h.        “If it is dangerous to health when used in the dosage or manner, or with the

                            frequency or duration prescribed, recommended, or suggested in

                            the labeling thereof”34;

                  i.        If the drug is advertised incorrectly in any manner35; and/or

                  j.        If the drug’s “packaging or labeling is in violation of an applicable

                            regulation.”36

         67.      The manufacture and sale of any adulterated or misbranded drug is prohibited under

federal law.37

         68.      The introduction into commerce of any adulterated or misbranded drug is also

prohibited.38

         69.      Similarly, the receipt in interstate commerce of any adulterated or misbranded or

misbranded drug is also unlawful.39

         70.      As articulated in this Complaint, Defendant’s unapproved VCD drugs were

adulterated and/or misbranded in violation of all of the above-cited reasons.

         71.      Plaintiff references federal law in this Complaint not in any attempt to enforce it,

but to demonstrate that her state-law tort claims do not impose any additional obligations on

Defendant, beyond what is already required of them under federal law.



32
   21 U.S.C. § 352(i)(2).
33
   21 U.S.C. § 352(i)(3).
34
   21 U.S.C. § 352(j).
35
   21 U.S.C. § 352(n).
36
   21 U.S.C. § 352(p).
37
   21 U.S.C. § 331(g).
38
   21 U.S.C. § 331(a).
39
   21 U.S.C. § 331(c).


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 II.     The Drugs Purchased by Plaintiff And Class Members Were Not Chantix, But
         Adulterated and Misbranded Varenicline-Containing Drugs, Not of the Same
         Quality
         72.    The FDA’s website provides the definition for a drug:

                The Federal Food Drug and Cosmetic Act (FD&C Act) and FDA
                regulations define the term drug, in part, by reference to its intended
                use, as “articles intended for use in the diagnosis, cure, mitigation,
                treatment, or prevention of disease” and “articles (other than food)
                intended to affect the structure or any function of the body of man
                or other animals.” Therefore, almost any ingested or topical or
                injectable product that, through its label or labeling (including
                internet websites, promotional pamphlets, and other marketing
                material), is claimed to be beneficial for such uses will be regulated
                by FDA as a drug. The definition also includes components of
                drugs, such as active pharmaceutical ingredients.40

         73.    21 C.F.R. § 210.3(b)(7) defines an “active ingredient” in a drug as “any component

that is intended to furnish pharmacological activity or other direct effect in the diagnosis, cure,

mitigation, treatment, or prevention of disease, or to affect the structure or any function of the body

of man or other animals. The term includes those components that may undergo chemical change

in the manufacture of the drug product and be present in the drug product in a modified form

intended to furnish the specified activity or effect.”41

         74.    Accordingly, the FDA requires the submission of a New Drug Application by

manufacturers whenever a new active ingredient is added to a drug, as the drug has become a new

and differing drug from those previously approved by the FDA. Absent such an application,

followed by a review and approval by the FDA, the new drug remains a distinct, unapproved

product.42

         75.    This new and unapproved drug with additional active ingredients (such as




40
   https://www.fda.gov/ForIndustry/ImportProgram/ImportBasics/RegulatedProducts/ucm511482.htm#drug.
41
   https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=210.3.
42
   See 21 C.F.R. § 310.3(h).


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nitrosamines in the subject VCDs) cannot have the same label as the brand-name drug, as the two

products are no longer the same.

         76.     At the very least and alternatively, drugs with differing and dangerous ingredients

than brand-name counterparts are adulterated or misbranded under federal law, and the sale or

introduction into commerce of adulterated or misbranded drugs is illegal.43

         77.     Here, N-nitroso-varenicline and other nitrosamines resulted from the deficient

manufacturing process of the VCDs, rendering the VCDs different than the NDA-approved version

of Chantix. Importantly, N-nitroso-varenicline and other nitrosamines can cause cancer by

triggering genetic mutations in humans. This mutation affects the structure of the human body,

and thus, N-nitroso-varenicline and other nitrosamines are, by definition, an active ingredient in a

drug.

         78.     Because the VCDs ingested by Plaintiff were never approved or even reviewed by

the FDA, the FDA never conducted an assessment of safety or effectiveness for these drugs.

         79.     The presence of additional active ingredients (N-nitroso-varenicline and other

nitrosamines), and potentially other deviations from Defendant’s NDA approval rendered

Defendant’s VCDs of a lesser quality than FDA-approved Chantix.

III.     Defendant Made False Statements in the Labeling
         80.     A manufacturer must give adequate directions for the use of a pharmaceutical drug

so that a “layman can use a drug safely and for the purposes for which it is intended,” 44 and

conform to requirements governing the appearance of the label.45




43
    See generally https://www.justice.gov/opa/pr/generic-drug-manufacturer-ranbaxy-pleads-guilty-and-agrees-pay-
500-million-resolve-false (last accessed June 6, 2019).
44
   21 C.F.R. § 201.5.
45
   21 C.F.R. § 801.15.




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         81.       “Labeling” encompasses all written, printed or graphic material accompanying the

drug or device,46 and therefore broadly includes nearly every form of promotional activity,

including not only “package inserts” but also advertising.

         82.      “Most, if not all, labeling is advertising. The term ‘labeling’ is defined in the FDCA

as including all printed matter accompanying any article. Congress did not, and we cannot, exclude

from the definition printed matter which constitutes advertising.”47

         83.      If a manufacturer labels a drug but omits ingredients, that renders the drug

misbranded.48

         84.      Because Defendant did not disclose that its product contained N-nitroso-varenicline

or other nitrosamines as an ingredient, the subject drugs were misbranded.

         85.      In addition, by referring to its drugs as “Chantix”, Defendant was making false

statements regarding Chantix.

         86.      It is unlawful to introduce a misbranded drug into interstate commerce.49 Thus, the

Chantix products ingested by Plaintiff and Class Members were unlawfully distributed and sold.

IV.      Defendant Represented VCDs were Manufactured in Compliance with Current
         Good Manufacturing Practices
       87.        Under federal law, cGMPs include “the implementation of oversight and controls

over the manufacture of drugs to ensure quality, including managing the risk of and establishing

the safety of raw materials, materials used in the manufacturing of drugs, and finished drug

products.” 21 U.S.C. § 351(j). Accordingly, it is a cGMP violation for a manufacturer to contract

out prescription drug manufacturing without sufficiently ensuring the continuing quality of the




46
   Id. 65 Fed. Reg. 14286 (March 16, 2000).
47
   U.S. v. Research Labs., 126 F.2d 42, 45 (9th Cir. 1942).
48
   21 C.F.R. § 201.6; 201.10.
49
   21 U.S.C. § 331(a).


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subcontractors’ operations.

     88.       FDA regulations require a “quality control unit” to independently test drug product

manufactured by another company on contract:

               There shall be a quality control unit that shall have the responsibility
               and authority to approve or reject all components, drug product
               containers, closures, in-process materials, packaging material,
               labeling, and drug products, and the authority to review production
               records to assure that no errors have occurred or, if errors have
               occurred, that they have been fully investigated. The quality control
               unit shall be responsible for approving or rejecting drug products
               manufactured, processed, packed, or held under contract by another
               company. 21 C.F.R. § 211.22(a).

       89.     Indeed, FDA regulations require a drug manufacturer to have “written procedures

for production and process control designed to assure that the drug products have the identity,

strength, quality, and purity they purport or are represented to possess.” 21 C.F.R. § 211.100.

       90.     A drug manufacturer’s “[l]aboratory controls shall include the establishment of

scientifically sound and appropriate specifications, standards, sampling plans, and test procedures

designed to assure that components, drug product containers, closures, in-process materials,

labeling, and drug products conform to appropriate standards of identity, strength, quality, and

purity.” 21 C.F.R. § 211.160.

       91.     “Laboratory records shall include complete data derived from all tests necessary to

assure compliance with established specifications and standards, including examinations and

assays” and a “statement of the results of tests and how the results compare with established

standards of identity, strength, quality, and purity for the component, drug product container,

closure, in-process material, or drug product tested.” 21 C.F.R. § 211.194.

       92.     Defendant’s VCDs did not conform with the NDA specifications, which

demonstrates inadequate production, process, and quality oversight by Defendant.




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 V.        Defendant’s Actions Resulted in Adulterated and Misbranded VCDs Contaminated
           93.     On October 26, 2020, Health Canada, the FDA analogue for Canada, sent a letter

to Apotex, Inc. concerning risk of the presence of nitrosamine impurities in drugs.

           94.     Apotex was the distributor of Chantix in Canada on Defendant’s behalf.

           95.     Health Canada informed Apotex that it had been informed by other global

regulators “of the prences of new nitrosamine impurities in varenicline API [active pharmaceutical

ingredient]:        7,8-dinitro-1,2,4,5-tetrahydro-3H-1,5-methanobenzo[d]azepin-N-nitrosamine, 1-

(7,8-diamino-1,2,4,5-tetrahydro-3H-1,5-methanobenzo[o'1azepin-3-yl)-N-nitrosamine and N-

nitroso varenicline.”

           96.     Health Canada continued: “After a preliminary internal review conducted by

Health Canada, it was concluded that there is risk for formation of these new nitrosamines

impurities for all MAHs of varenicline drug products in Canada. Additional risks for other

nitrosamines (e.g. NOMA, N-nitrosodiethylamine (NOEA)) might exist if nitrocellulose is being

used as a component of the blister packaging for varenicline products.”

           97.     N-nitrosodimethylamine, commonly known as NDMA, is an odorless, yellow

liquid.50

           98.     According to the U.S. Environmental Protection Agency, “NDMA is a semivolatile

chemical that forms in both industrial and natural processes.”51

           99.     NDMA can be unintentionally produced in and released from industrial sources

through chemical reactions involving other chemicals called alkylamines.

           100.    The American Conference of Governmental Industrial Hygienists classifies NDMA



50
     https://www.atsdr.cdc.gov/toxprofiles/tp141.pdf.
51
     https://www.epa.gov/sites/production/files/2017-10/documents/ndma_fact_sheet_update_9-15-17_508.pdf.




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as a confirmed animal carcinogen.52

        101.    The U.S. Department of Health and Human Services (“DHHS”) similarly states

that NDMA is reasonably anticipated to be a human carcinogen.53 This classification is based

upon DHHS’s finding that NDMA caused tumors in numerous species of experimental animals,

at several different tissue sites, and by several routes of exposure, with tumors occurring primarily

in the liver, respiratory tract, kidney, and blood vessels.54

        102.    According to the Agency for Toxic Substances and Disease Registry, “NDMA is

very harmful to the liver of humans and animals. People who were intentionally poisoned on one

or several occasions with unknown levels of NDMA in beverage or food died of severe liver

damage accompanied by internal bleeding.”55

        103.    WHO and IARC classify NDMA as one of sixty-six agents that are “probably

carcinogenic to humans” (Classification 2A).

        104.    Anecdotally, NDMA has also been used in intentional poisonings.56

        105.    Other nitrosamines with similar or even more severe carcinogenic risk profiles

include n-nitrosodiethlamine (“NDEA”), as well as N-nitroso-varenicline.

        106.    Nitrosamines are considered genotoxic compounds, as it contains nitroso groups,

which are gene-mutating groups.57

        107.    The pharmaceutical industry has been aware of the potential for the formation of

nitrosamines in pharmaceutical drugs at least as far back as 2005, or earlier.58


52
   https://www.epa.gov/sites/production/files/2017-10/documents/ndma_fact_sheet_update_9-15-17_508.pdf.
53
   https://www.epa.gov/sites/production/files/2017-10/documents/ndma_fact_sheet_update_9-15-17_508.pdf.
54
   https://www.epa.gov/sites/production/files/2017-10/documents/ndma_fact_sheet_update_9-15-17_508.pdf.
55
   https://www.atsdr.cdc.gov/toxprofiles/tp141.pdf, p. 2.
56
    See Quartz, A COMMON BLOOD-PRESSURE MEDICINE IS BEING RECALLED BECAUSE OF A TOXIC INGREDIENT,
https://qz.com/1330936/the-fda-is-recalling-a-common-blood-pressure-drug-because-it-was-mixed-with-ndma/ (last
accessed June 5, 2019).
57
   https://www.pharmaceuticalonline.com/doc/nitroso-impurities-in-valsartan-how-did-we-miss-them-0001.
58
   http://www.pharma.gally.ch/UserFiles/File/proofs%20of%20article.pdf.


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        108.     In late June 2021, Defendant recalled certain lots of VCDs because of the presence

of N-nitroso-varenicline and/or other nitrosamines.

        109.     A couple of weeks later, on July 19, 2021, Defendant announced a wider recall of

additional VCD products due to N-nitroso-varenicline and/or other nitrosamine contamination.

        110.     The recalls were due to the presence of N-nitroso-varenicline above established

acceptable daily intake levels. The precise levels were not disclosed.

        111.     On September 16, 2021, Pfizer expanded its recall to include all lots of Chantix

“due to the presence of a nitrosamine[.]”59

VI.     Defendant Had Actual and/or Constructive Notice of Nitrosamine Contamination of
        Its Adulterated, Misbranded, and/or Unapproved VCDs
        112.     Neither n-nitroso-varenicline nor other nitrosamines are FDA-approved ingredients

of Chantix.      Moreover, none of Defendant’s VCDs identify n-nitroso-varenicline or other

nitrosamines as an ingredient on the products’ labels or elsewhere. This is because these

nitrosamines are probable human carcinogens and are not approved to be included in the API.

Their inclusion in Defendant’s VCDs renders the VCDs adulterated and misbranded compared to

Defendant’s warranties and representations.

        113.     If Defendant had not routinely disregarded the FDA’s cGMPs, or had fulfilled its

quality assurance obligations, Defendant would have identified the presence of these nitrosamine

contaminants almost immediately.

        114.     This is certainly true since at least 2018, when many manufacturers of valsartan,

losartan, and irbesartan instituted massive waves of recalls due to nitrosamine contamination. That

knowledge alone should have informed Defendant to check its VCDs for nitrosamines then, if not



59
  https://www.fda.gov/safety/recalls-market-withdrawals-safety-alerts/pfizer-expands-voluntary-nationwide-recall-
include-all-lots-chantixr-varenicline-tablets-due-n


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sooner.

          115.   21 C.F.R. § 211.110 contains the cGMPs regarding the “Sampling and testing of

in-process materials and drug products[.]” Subsection (c) states the following:

                 In-process materials shall be tested for identity, strength, quality,
                 and purity as appropriate, and approved or rejected by the quality
                 control unit, during the production process, e.g., at commencement
                 or completion of significant phases or after storage for long periods.

21 C.F.R. § 211.110(c).

          116.   And as shown above, Defendant’s quality control units are and were responsible

for approving or rejecting drug products manufactured, processed, packed, or held under contract

by each API manufacturer.

          117.   Also, as shown above, the quality control units for all of Defendant’s manufacturing

were grossly deficient in fulfilling their responsibilities.

          118.   If these sampling-related and quality-control-related cGMPs were properly

observed by Defendant, the nitrosamine contamination in Defendant’s VCDs would have been

discovered almost immediately, and Defendant was thus on (at minimum) constructive notice from

the moment its VCDs became contaminated.

          119.   However, there are indications that Defendant had actual knowledge of its VCDs’

contamination, and certainly not later than Health Canada’s communication to Apotex in 2020.

          120.   And yet, Defendant knowingly, recklessly, and/or negligently introduced

adulterated and/or misbranded VCDs containing dangerous amounts of nitrosamines into the U.S.

market. Defendant failed to recall its VCDs because it feared permanently ceding market share to

competitors.

VII.      Defendant’s Warranties and Fraudulent and Deceptive Statements to Consumers
          Regarding Its VCDs
          121.   Defendant made and breached express and implied warranties and also made


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affirmative misrepresentations and omissions to consumers about its adulterated and/or

misbranded VCDs.

        122.    The FDA maintains a list of “Approved Drug Products with Therapeutic

Equivalence Evaluations” known as the Orange Book.60 The Orange Book is a public document;

Defendant sought and received the inclusion of its VCD products in the Orange Book upon

approval of the NDAs.

        123.    Defendant’s VCD(s) is/are accompanied by an FDA-approved label. By presenting

consumers with an FDA-approved VCD label, Defendant made representations and express or

implied warranties of the “sameness” of its product to the Orange Book listed Chantix, and that its

products were consistent with the safety, quality, purity, identity, and strength characteristics

reflected in the FDA-approved labels and/or were not adulterated and/or misbranded.

        124.    By introducing its VCDs into the United States market as “Chantix,” Defendant

represent and warrant to end-users that its VCDs are in fact the same as Chantix. Much of the drug

supply chain, including the most critical components of that supply chain (e.g., end-user patients)

rely on these representations and warranties.

        125.    In addition, Defendant affirmatively misrepresented and warranted to consumers

through its websites, brochures, and other marketing or informational materials that its VCDs

complied with cGMPs and did not contain (or were not likely to contain) any ingredients besides

those identified on the products’ FDA-approved labels.

        126.    The presence of nitrosamines in Defendant’s VCDs: (1) renders Defendant’s VCDs

non-bioequivalent (i.e., not the same) to listed Chantix, thus breaching Defendant’s express


60
   FDA, APPROVED DRUG PRODUCTS WITH THERAPEUTIC EQUIVALENCE EVALUATIONS (ORANGE BOOK) SHORT
DESCRIPTION,                                                                                              at
https://www.fda.gov/drugs/informationondrugs/approveddrugs/approveddrugproductswiththerapeuticequivalenceev
aluationsorangebook/default.htm (last accessed June 5, 2019).


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warranties of sameness; (2) was the result of gross deviations from cGMPs rendering Defendant’s

VCDs, thus breaching Defendant’s express warranties of sameness; and (3) results in Defendant’s

VCDs containing an ingredient that is not also contained in the FDA-approved label, also

breaching Defendant’s express warranty of sameness (and express warranty that the products

contained the ingredients listed on Defendant’s FDA-approved label). Defendant willfully,

recklessly, or negligently failed to ensure its VCDs’ labels and other advertising or marketing

statements accurately conveyed information about its products.

       127.    The presence of nitrosamines in Defendant’s VCDs and serial and willful failures

to comply with cGMPs and other shortcomings in Defendant’s drug manufacturing processes have

resulted in Defendant’s VCDs being adulterated and/or misbranded compared to Defendant’s

representations and warranties.

       128.    At all relevant times, Defendant also impliedly warranted that its VCDs were

merchantable and fit for their ordinary purposes.

       129.    Naturally, due to their status as probable human carcinogens as listed by both the

IARC and the U.S. EPA, nitrosamines including NDMA are not FDA-approved ingredients in

VCDs. The presence of NDMA and other similar nitrosamines or impurities in Defendant’s VCDs

means that Defendant has violated implied warranties to Plaintiff and Class Members. The

presence of NDMA in Defendant’s VCDs makes Defendant’s VCDs non-merchantable and not fit

for their ordinary purposes (i.e., as a therapeutically interchangeable generic version of their

RLDs), breaching Defendant’s implied warranty of merchantability and/or fitness for ordinary

purposes.

       130.    For these and other reasons, Defendant’s VCDs are therefore adulterated,

misbranded, and/or unapproved, and it was illegal for Defendant to have introduced such VCDs




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 in the United States. See 21 U.S.C. §§ 331(a), 351(a)(2)(B), 331(g).

          131.   Adulterated, misbranded, and/or unapproved VCDs contaminated with cancer-

 causing compounds are essentially worthless. No reasonable consumer (including Plaintiff) would

 purchase (or reimburse for) these nitrosamine-laden VCDs. Nor could they, as an adulterated,

 misbranded, and/or unapproved VCDs cannot even be legally sold or purchased within the United

 States. At a minimum, adulterated, misbranded, and/or unapproved VCDs were worth less than

 their non-contaminated equivalents. Further, adulterated, misbranded, and/or unapproved VCDs

 do not possess the same safety and efficacy profiles as their branded equivalents. As such, the

 VCDs were not what they were supposed to be.

          132.   Moreover, every consumer (and every TPP’s insured) who purchased and ingested

 Defendant’s VCDs, including Plaintiff (or Plaintiff’s insureds), has been exposed to a non-

 bargained for carcinogenic agent with mutagenic properties that operates at the cellular and sub-

 cellular levels, and may give rise to future potential health consequences.

          133.   Because of the seriousness of the impurity—unsafe levels of a carcinogen— all or

 virtually all patients immediately stopped taking the tainted drug products after receiving notice

 of the recall. They were prescribed a safe alternative. Defendant’s VCDs had no use or value and

 were thus discarded.

VIII.     Fraudulent Concealment and Tolling
          134.   Plaintiff’s and Class Members’ causes of action accrued on the date the FDA

 announced the recall of Defendant’s generic VCDs.

          135.   Alternatively, any statute of limitation or prescriptive period is equitably tolled on

 because of fraudulent concealment. Defendant affirmatively concealed from Plaintiff and other

 Class Members its unlawful conduct. Defendant affirmatively strove to avoid disclosing its

 knowledge of its cGMP violations related to its VCDs, and of the fact that its VCDs were


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adulterated and/or misbranded and contaminated with nitrosamines and were not the same as the

FDA-approved Chantix.

          136.   For instance, Defendant did not reveal to the public that its VCDs contained

nitrosamines or was otherwise adulterated, misbranded, and/or unapproved, or non-therapeutically

equivalent to FDA-approved Chantix.

          137.   To the contrary, Defendant continued to represent and warrant that its VCDs were

actually “Chantix” when they were not the same as Chantix.

          138.   Because of this, Plaintiff and other Class Members did not discover, nor could they

have discovered through reasonable and ordinarily diligence, Defendant’s deceptive, fraudulent,

and unlawful conduct alleged herein. Defendant’s false and misleading explanations, or

obfuscations, lulled Plaintiff and Class Members into believing that the prices paid for their VCDs

were appropriate for what they believed to be non-adulterated or misbranded drugs despite their

exercise of reasonable and ordinary diligence.

          139.   As a result of Defendant’s affirmative and other acts of concealment, any applicable

statute of limitations affecting the rights of Plaintiff and other Class Members has been tolled.

Plaintiff and/or other Class Members exercised reasonable diligence by among other things

promptly investigating and bringing the allegations contained herein. Despite these or other

efforts, Plaintiff was unable to discover, and could not have discovered, the unlawful conduct

alleged herein at the time it occurred or at an earlier time so as to enable this complaint to be filed

sooner.

                                    CLASS ACTION ALLEGATIONS
          140.   Plaintiff seeks to represent a Nationwide Class pursuant to Fed. R. Civ. P. 23(a),

23(b)(2) and 23(b)(3) as defined below:




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                 National Class: All individuals and entities in the United States
                 and its territories and possessions who paid any amount of money
                 for a varenicline-containing drug (intended for personal or
                 household use) that was manufactured, distributed, or sold by
                 Defendant.

                 Illinois Subclass: All individuals and entities in Illinois and its
                 territories and possessions who paid any amount of money for a
                 varenicline-containing drug (intended for personal or household
                 use) that was manufactured, distributed, or sold by Defendant.

         141.    Plaintiff alleges additional sub-classes for all individuals and TPPs in each State,

territory, or possession – or combination(s) of States, territories, or possessions to the extent class

members from these jurisdictions can be grouped together for purposes of class treatment – who,

paid any amount of money out of pocket for a varenicline-containing drug (intended for personal

or household use) that was manufactured, distributed, or sold by any Defendant (collectively, the

“Subclasses”).

         142.    Collectively, the foregoing Nationwide Class and the Subclasses are referred to as

the “Class.”

         143.    Excluded from the Class are: (a) any judge or magistrate presiding over this action,

and members of their families; (b) Defendant and affiliated entities, and their employees, officers,

directors, and agents; (c) Defendant’s legal representatives, assigns and successors; and (d) all

persons who properly execute and file a timely request for exclusion from any Court-approved

class.

         144.    Plaintiff reserves the right to narrow or expand the foregoing class definition, or to

create or modify subclasses as the Court deems necessary.

         145.    Plaintiff meets the prerequisites of Rule 23(a) to bring this action on behalf of the

Class.

         146.    Numerosity: While the exact number of Class Members cannot be determined



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without discovery, the Class is believed to consist of potentially millions of Chantix consumers

nationwide. The Class Members are therefore so numerous that joinder of all members is

impracticable.

       147.      Existence and predominance of common questions of law and fact: Common

questions of law and fact exist as to all Class and Subclass Members and predominate over any

questions affecting on individual Class and Subclass members. These common legal and factual

questions include, but are not limited to, the following:

       a. Whether Defendant made express or implied warranties of “sameness” to Plaintiff and

           Class Members regarding its VCDs;

       b. Whether Defendant’s VCDs were, in fact, the same as Chantix consistent with such

           express or implied warranties;

       c. Whether Defendant’s VCDs were contaminated with nitrosamines or similar

           contaminants;

       d. Whether Defendant’s VCDs containing nitrosamines or similar contaminants were

           adulterated and/or misbranded;

       e. Whether Defendant violated cGMPs regarding the manufacture of its VCDs;

       f. Whether Defendant falsely claimed that its VCDs were the same as Chantix and thus

           therapeutically interchangeable;

       g. Whether Defendant affirmatively misrepresented or omitted facts regarding its

           compliance with cGMPs;

       h. Whether Plaintiff and other Class Members have been injured as a result of Defendant’s

           unlawful conduct, and the amount of their damages;

       i. Whether a common damages model can calculate damages on a class-wide basis;




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       j. When Plaintiff’s and Class Members’ causes of action accrued; and

       k. Whether Defendant fraudulently concealed Plaintiff’s and Class Members’ causes of

           action.

       148.    Typicality: Plaintiff’s claims are typical of Class Members’ claims. Plaintiff and

Class Members all suffered the same type of economic harm. Plaintiff has substantially the same

interest in this matter as all other Class Members, and their claims arise out of the same set of facts

and conduct as the claims of all other Class Members.

       149.    Adequacy of Representation: Plaintiff is committed to pursuing this action and

has retained competent counsel experienced in pharmaceutical litigation, consumer fraud

litigation, class actions, and federal court litigation. Accordingly, Plaintiff and her counsel will

fairly and adequately protect the interests of Class Members. Plaintiff’s claims are coincident with,

and not antagonistic to, those of the other Class Members she seeks to represent. Plaintiff has no

disabling conflicts with Class Members and will fairly and adequately represent the interests of

Class Members.

       150.    The elements of Rule 23(b)(2) are met. Defendant has acted on grounds that apply

generally to Class Members so that preliminary and/or final injunctive relief and corresponding

declaratory relief is appropriate respecting the Class as a whole.

       151.    Superiority: A class action is superior to all other available means for the fair and

efficient adjudication of this controversy. Although many other Class Members have claims

against Defendant, the likelihood that individual Class Members will prosecute separate actions is

remote due to the time and expense necessary to conduct such litigation. Serial adjudication in

numerous venues would not be efficient, timely or proper. Judicial resources would be

unnecessarily depleted by resolution of individual claims. Joinder on an individual basis of




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thousands of claimants in one suit would be impractical or impossible. In addition, individualized

rulings and judgments could result in inconsistent relief for similarly situated Plaintiff. Plaintiff’s

counsel, highly experienced in pharmaceutical litigation, consumer fraud litigation, class actions,

and federal court litigation, foresee little difficulty in the management of this case as a class action.

                                       COUNT I
                            BREACH OF EXPRESS WARRANTIES

          152.   Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth

herein.

          153.   Plaintiff, and each member of the Class, formed a contract with Defendant at the

time Plaintiff and the other Class Members purchased the VCDs. The terms of the contract include

the promises and affirmations of fact made by Defendant on the VCDs’ packaging and through

marketing and advertising, including that the product would be bioequivalent to the name-brand

medication, and would be of same “quality” and have the same safety and efficacy profile as the

RLD. This labeling, marketing, and advertising constitute express warranties and became part of

the basis of the bargain, and are part of the standardized contract between Plaintiff and the

members of the Class and Defendant.

          154.   Defendant expressly warranted that its VCDs were fit for their ordinary use as an

FDA-approved generic pharmaceutical that is therapeutically equivalent to and interchangeable

with their RLDs. In other words, Defendant expressly warranted that its products were the same

as their RLDs.

          155.   Defendant sold VCDs that it expressly warranted were compliant with cGMP and

not adulterated or misbranded.

          156.   Defendant’s VCDs did not conform to Defendant’s express representations and

warranties because the product was not manufactured in compliance with cGMP and was



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adulterated and misbranded.

       157.    At all times relevant all fifty States and the District of Columbia and Puerto Rico

have codified and adopted the provisions of the Uniform Commercial Code governing the implied

warranty of merchantability and fitness for ordinary purpose: Ala. Code § 7-2-313; Alaska Stat.

§ 45.02.313; Ariz. Rev. Stat. Ann. § 47-2313; Ark. Code. Ann. § 4-2-313; Cal. Com. Code §

2313; Colo. Rev. Stat. § 4-2-313; Conn. Gen. Stat. Ann. § 42a-2-313; 6 Del. Code. § 2-313; D.C.

Code. § 28:2-313; Fla. Stat. Ann. § 672.313; Ga. Code. Ann. § 11-2-313; Haw. Rev. Stat. § 490:2-

313; Idaho Code § 28-2-313; 810 Ill. Comp. Stat. Ann. 5/2-313; Ind. Code Ann. § 26-1-2-313;

Kan. Stat. Ann. § 84-2-313; Ky. Rev. Stat. Ann. § 355.2-313; 11 Me. Rev. Stat. Ann. § 2-313;

Md. Code. Ann. § 2-313; Mass. Gen. Law Ch. 106 § 2-313; Mich. Comp. Laws Ann. § 440.2313;

Minn. Stat. Ann. § 336.2-313; Miss. Code Ann. § 75-2-313; Mo. Rev. Stat. § 400.2-313; Mont.

Code Ann. § 30-2-313; Nev. Rev. Stat. U.C.C. § 104.2313; N.H. Rev. Ann. § 382-A:2-313; N.J.

Stat. Ann. § 12A:2-313; N.M. Stat. Ann. § 55-2-313; N.Y. U.C.C. Law § 2-313; N.C. Gen. Stat.

Ann. § 25-2-313; N.D. Stat. § 41-02-313; Ohio Rev. Code Ann. § 1302.26; Okla. Stat. tit. 12A §

2-313; Or. Rev. Stat. § 72.3130; 13 Pa. C.S. § 2313; P.R. Laws. Ann. Tit. 31, § 3841, et seq.; R.I.

Gen. Laws § 6A-2-313; S.C. Code Ann. § 36-2-313; S.D. Stat. § 57A-2-313; Tenn. Code Ann.

§ 47-2-313; Tex. Bus. & Com. Code Ann. § 2-313; Utah Code Ann. § 70A-2-313; Va. Code § 8.2-

313; Vt. Stat. Ann. 9A § 2-313; W. Va. Code § 46-2-313; Wash. Rev. Code § 62A 2-313; Wis.

Stat. Ann. § 402.313; and Wyo. Stat. § 34.1-2-313.

       158.    At the time that Defendant marketed and sold its VCDs, Defendant recognized the

purposes for which the products would be used, and expressly warranted the products were the

same as their RLDs, and cGMP compliant and not adulterated or misbranded. These affirmative

representations became part of the basis of the bargain in every purchase by Plaintiff and other




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Class Members including but not limited to express representations made in referring to VCDs.

          159.   Defendant breached its express warranties with respect to its VCDs as they were

not of merchantable quality, were not fit for their ordinary purpose, and did not comply with cGMP

and was adulterated and misbranded.

          160.   Plaintiff and each member of the Class would not have purchased the VCDs had

they known these drugs were not the same as the RLD, did not contain the same ingredients, did

not have the same safety and efficacy profile of the RLD, and contained NDMA.

          161.   As a direct and proximate result of Defendant’s breach of implied warranty,

Plaintiff and other Class Members have been injured and suffered damages in the amount of the

purchase price of their medications, the purchase price of any replacement medications, and any

consequential damages resulting from the purchases, in that the VCDs they purchased were so

inherently flawed, unfit, or unmerchantable as to have no market value.

                                       COUNT II
                            BREACH OF IMPLIED WARRANTIES

          162.   Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth

herein.

          163.   At all times relevant all fifty States and the District of Columbia and Puerto Rico

have codified and adopted the provisions of the Uniform Commercial Code governing the implied

warranty of merchantability and fitness for ordinary purpose: Ala. Code § 7-2-314; Alaska Stat.

§ 45.02.314; Ariz. Rev. Stat. Ann. § 47-2314; Ark. Code. Ann. § 4-2-314; Cal. Com. Code §

2314; Colo. Rev. Stat. § 4-2-314; Conn. Gen. Stat. Ann. § 42a-2-314; 6 Del. Code. § 2-314; D.C.

Code. § 28:2-314; Fla. Stat. Ann. § 672.314; Ga. Code. Ann. § 11-2-314; Haw. Rev. Stat. § 490:2-

314; Idaho Code § 28-2-314; 810 Ill. Comp. Stat. Ann. 5/2-314; Kan. Stat. Ann. § 84-2-314; Ky.

Rev. Stat. Ann. § 355.2-314; La. Civ. Code Ann. Art. § 2520; 11 Me. Rev. Stat. Ann. § 2-314;



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Md. Code. Ann. § 2-314; Mass. Gen. Law Ch. 106 § 2-314; Mich. Comp. Laws Ann. § 440.2314;

Minn. Stat. Ann. § 336.2-314; Miss. Code Ann. § 75-2-314; Mo. Rev. Stat. § 400.2-314; Mont.

Code Ann. § 30-2-314; Nev. Rev. Stat. U.C.C. § 104.2314; N.H. Rev. Ann. § 382-A:2-314; N.J.

Stat. Ann. § 12A:2-314; N.M. Stat. Ann. § 55-2-314; N.Y. U.C.C. Law § 2-314; N.C. Gen. Stat.

Ann. § 25-2-314; N.D. Stat. § 41-02-314; Ohio Rev. Code Ann. § 1302.27; Okla. Stat. tit. 12A §

2-314; Or. Rev. Stat. § 72.3140; 13 Pa. C.S. § 2314; P.R. Laws. Ann. Tit. 31, § 3841, et seq.;

R.I. Gen. Laws § 6A-2-314; S.C. Code Ann. § 36-2-314; S.D. Stat. § 57A-2-314; Tenn. Code

Ann. § 47-2-314; Tex. Bus. & Com. Code Ann. § 2-314; Utah Code Ann. § 70A-2-314; Va. Code

§ 8.2-314; Vt. Stat. Ann. 9A § 2-314; W. Va. Code § 46-2-314; Wash. Rev. Code § 62A 2-314;

Wis. Stat. Ann. § 402.314; and Wyo. Stat. § 34.1-2-314.

       164.       Defendant was a merchant within the meaning of the above statutes.

       165.       Defendant’s VCDs constituted “goods” or the equivalent within the meaning of the

above statutes.

       166.       Defendant was obligated to provide Plaintiff and other Class Members reasonably

fit VCDs for the purpose for which the product was sold, and to conform to the standards of the

trade in which Defendant is involved such that the product was of fit and merchantable quality.

       167.       Defendant knew or should have known that its VCDs were being manufactured and

sold for the intended purpose of human consumption as a therapeutic equivalent to their RLDs (or

is strictly liable in the event of lack of actual or constructive knowledge), and impliedly warranted

that its VCDs were of merchantable quality and fit for that purpose.

       168.       Defendant breached its implied warranty because Defendant’s VCDs were not of

merchantable quality, nor fit for the product’s ordinary purpose, and did not conform to the

standards generally applicable to such goods.




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          169.   Plaintiff and other Class members purchased the VCDs in reliance upon

Defendant’s skill and judgment and the implied warranties of fitness for the purpose.

          170.   The VCDs were not altered by Plaintiff or Class members.

          171.   As a direct and proximate result of Defendant’s breach of implied warranty,

Plaintiff and other Class Members have been injured and suffered damages, in that Defendant’s

VCDs they purchased was so inherently flawed, unfit, or unmerchantable as to have significantly

diminished or no intrinsic market value.

                                    COUNT III
                  MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.

          172.   Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth

herein.

          173.   Defendant is a “warrantor” within the meaning of the Magnuson-Moss Warranty

Act.

          174.   Plaintiff and other Class Members are “consumers” within the meaning of the

Magnuson-Moss Warranty Act.

          175.   Defendant expressly or impliedly warranted its VCDs as alleged in the First and

Second Causes of Action.

          176.   Under 15 U.S.C. § 2310(d)(1), Plaintiff and Other Class Members were “damaged

by the failure of a supplier, warrantor, or service contractor to comply with any obligation under

this chapter, or under a written warranty, implied warranty, or service contract, may bring suit for

damages and other legal and equitable relief.” 15 U.S.C. § 2310(d)(1). Plaintiff sues pursuant to

this section to recover money damages and for legal and equitable relief on behalf of itself and the

Class Members.

          177.   Defendant has not acted on the opportunity to cure its failure with respect to its



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warranted VCDs.

          178.   Likewise, pursuant to 15 U.S.C. § 2310(d)(2), upon prevailing in this action,

Plaintiff and Class Members are entitled to receive an award of attorneys’ fees and expenses and

pray for the same.


                                             COUNT IV
                                              FRAUD

          179.   Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth

herein.

          180.   Defendant affirmatively misrepresented material facts including, inter alia, that its

VCDs were therapeutically equivalent to their RLDs and/or complied with cGMPs and/or were

not adulterated and/or misbranded.

          181.   Defendant omitted material facts including, inter alia, that its VCDs were not

therapeutically equivalent to their RLDs and did not comply with cGMPs and/or were adulterated,

misbranded, and/or unapproved.

          182.   Defendant’s actions had the effect of fraudulently inducing customers to pay in

whole or in part for Defendant’s VCDs – products which Defendant knew or should have known

were not therapeutically equivalent to their RLDs and/or did not comply with cGMPs and/or were

adulterated and/or misbranded. Plaintiff and other Class Members would not have purchased

Defendant’s VCDs had they known the truth. Indeed, Plaintiff and other Class Members could not

have paid for Defendant’s VCDs had they known the truth because Defendant’s VCDs were

illegally manufactured, illegally imported, illegally distributed, and illegally sold to Plaintiff and

Class Members based on Defendant’s fraudulent misrepresentations and omissions.

          183.   Defendant knew, or reasonably should have known, that its misrepresentations

were materially false or misleading, or that the omission of material facts rendered such


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representations false or misleading.

          184.   Defendant also knew, or had reason to know, that its misrepresentations and

omissions would induce Class members to pay for some or all of the cost of Defendant’s VCDs.

          185.   Defendant’s misrepresentations and omissions were material.

          186.   Defendant actively concealed its misrepresentations and omissions from the Class,

government regulators, and the public.

          187.   To the extent applicable, Defendant intended its misrepresentations and omissions

to induce Plaintiff and other Class Members to pay for Defendant’s VCDs.

          188.   But for these misrepresentations and omissions, Plaintiff and other Class Members

would not have paid for Defendant’s VCDs.

          189.   To the extent applicable, Plaintiff and other Class Members were justified in relying

on Defendant’s misrepresentations and omissions.             The same or substantively identical

misrepresentations and omissions were communicated, to each Class member, including through

product labeling and other statements by Defendant. No reasonable consumer would have paid

what they did for Defendant’s VCDs but for Defendant’s unlawful conduct. To the extent

applicable, reliance may be presumed in these circumstances.

          190.   Plaintiff and other Class Members were damaged by reason of Defendant’s

misrepresentations and omissions alleged herein.

                                       COUNT V
                       NEGLIGENT MISREPRESENTATION AND OMISSION

          191.   Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth

herein.

          192.   Defendant had or undertook a duty to represent to the quality, nature, and

characteristics of its VCDs accurately and truthfully.



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        193.   Defendant failed to exercise ordinary care in making representations (or in failing

to disclose facts) concerning the quality, nature, and characteristics of its VCDs.

        194.   Defendant negligently misrepresented or omitted facts regarding the quality,

nature, and characteristics of its VCDs.

        195.   Defendant’s statements were false at the time the misrepresentations were made (or

at the time omissions were not made).

        196.   Defendant knew, or reasonably should have known, that its representations alleged

herein were materially false or misleading, or that omission of material facts rendered such

representations false or misleading. Defendant also knew, or had reason to know, that its

misrepresentations and omissions would induce Class members to make purchases of Defendant’s

VCDs.

        197.   As a direct and proximate result of Defendant’s acts and omissions described

herein, Plaintiff and other Class Members have suffered harm, and will continue to do so.

        198.   Defendant’s misrepresentations or omissions were material and a substantial factor

in Plaintiff’s and other Class Members’ paying for VCDs.

        199.   Defendant intended its misrepresentations or omissions to induce Plaintiff and

Class members to make purchases of VCDs, or had reckless disregard for same.

        200.   But for these misrepresentations (or omissions), Plaintiff and other Class Members

would not have made purchases of Defendant’s VCDS.

        201.   Plaintiff and other Class Members were justified in relying on Defendant’s

misrepresentations or omissions. The same or substantively identical misrepresentations were

communicated, and/or the same or substantively identical omissions were not communicated, to

each Class Member.




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          202.   Plaintiff and other Class Members were damaged by reason of Defendant’s

misrepresentations or omissions alleged herein.


                                    COUNT VI
                 VIOLATION OF STATE CONSUMER PROTECTION LAWS

          203.   Plaintiff re-alleges and incorporate the preceding paragraphs as if fully set forth

herein.

          204.   Defendant has violated the consumer protection statutes as follows:

                 a.     Defendant has engaged in unfair competition or unfair or deceptive acts or

                        practices in violation of Ala. Code § 8-19-1, et seq.;

                 b.     Defendant has engaged in unfair competition or unfair or deceptive acts or

                        practices in violation of Alaska Stat. § 45.50.471, et seq.;

                 c.     Defendant has engaged in unfair competition or unfair or deceptive acts or

                        practices in violation of Arizona Rev. Stat. § 44-1522, et seq.;

                 d.     Defendant has engaged in unfair competition or unfair or deceptive acts or

                        practices in violation of Ark. Code § 4-88-101, et seq.;

                 e.     Defendant has violated the California Unfair Competition Law by engaging

                        in unfair or deceptive acts or practices in violation of Cal. Bus. Prof. Code

                        § 17200, et seq.;

                 f.     Defendant has violated the California Consumers Legal Remedies Act, Cal.

                        Civ. Code §§ 1750, et seq.;

                 g.     Defendant has violated the California False Advertising Law, Cal. Bus. &

                        Prof. Code §§ 17500, et seq.

                 h.     Defendant has engaged in unfair competition or unfair or deceptive acts or

                        practices in violation of Colo. Rev. Stat. § 6-1-105, et seq.;


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        i.    Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Conn. Gen. Stat. § 42-110b, et seq.;

        j.    Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of 6 Del. Code § 2511, et seq.;

        k.    Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of D.C. Code § 28-3901, et seq.;

        l.    Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Fla. Stat. § 501.201, et seq.;

        m.    Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Ga. State 10-1-392, et seq.;

        n.    Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Haw. Rev. Stat. § 480, et seq.;

        o.    Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Idaho Code § 48-601, et seq.;

        p.    Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation 815 ILCS 505/1, et seq.;

        q.    Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Ind. Code Ann. § 24-5-0.5.1, et seq.;

        r.    Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Iowa Code Ann. § 714H, et seq.;

        s.    Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Kan. Stat. § 50-623, et seq.;

        t.    Defendant has engaged in unfair competition or unfair or deceptive acts or




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              practices in violation of Ky. Rev. Stat. § 367.110, et seq.;

        u.    Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of La. Rev. Stat. § 51:1401, et seq.;

        v.    Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of 5 Me. Rev. Stat. § 207, et seq.;

        w.    Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Md. Com. Law Code § 13-101, et seq.;

        x.    Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Mass. Gen. L. Ch. 93A, et seq.;

        y.    Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Mich. Stat. § 445.901, et seq.;

        z.    Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Minn. Stat. § 325F.67, et seq.;

        aa.   Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Miss. Code Ann. § 75-24-1, et seq.;

        bb.   Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Vernon’s Mo. Rev. Stat. § 407.0 10, et seq.;

        cc.   Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Mont. Code § 30-14-101, et seq.;

        dd.   Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Neb. Rev. Stat. § 59-1601, et seq.;

        ee.   Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Nev. Rev. Stat. § 598.0903, et seq.;




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        ff.   Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of N.H. Rev. Stat. § 358-A:1, et seq.;

        gg.   Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of N.J. Stat. Ann. § 56:8-1, et seq.;

        hh.   Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of N.M. Stat. Ann. § 57-12-1, et seq.;

        ii.   Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of N.Y. Gen. Bus. Law § 349, et seq.;

        jj.   Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of N.Y. Gen. Bus. Law § 350, et seq.;

        kk.   Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of N.C. Gen. Stat. § 75-1.1, et seq.;

        ll.   Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of N.D. Cent. Code § 51-15-01, et seq.;

        mm.   Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Ohio Rev. Stat. § 1345.01, et seq.

        nn.   Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Okla. Stat. tit. 15 § 751, et seq.;

        oo.   Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of Or. Rev. Stat. § 646.605, et seq.;

        pp.   Defendant has engaged in unfair competition or unfair or deceptive acts or

              practices in violation of 73 Pa. Stat. § 201-1, et seq.;

        qq.   Defendant has engaged in unfair competition or unfair or deceptive acts or




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               practices in violation of R.I. Gen. Laws § 6-13.1-1, et seq.;

        rr.    Defendant has engaged in unfair competition or unfair or deceptive acts or

               practices in violation of S.C. Code Laws § 39-5-10, et seq.;

        ss.    Defendant has engaged in unfair competition or unfair or deceptive acts or

               practices in violation of S.D. Code Laws § 37-24-1, et seq.;

        tt.    Defendant has engaged in unfair competition or unfair or deceptive acts or

               practices in violation of Tenn. Code § 47-18-101, et seq.;

        uu.    Defendant has engaged in unfair competition or unfair or deceptive acts or

               practices in violation of Tex. Bus. & Com. Code § 17.41, et seq.;

        vv.    Defendant has engaged in unfair competition or unfair or deceptive acts or

               practices in violation of Utah Code Ann. § 13-11-1, et seq.;

        ww.    Defendant has engaged in unfair competition or unfair or deceptive acts or

               practices in violation of Vt. Stat. Ann. Tit. 9, § 2451, et seq.;

        xx.    Defendant has engaged in unfair competition or unfair or deceptive acts or

               practices in violation of Va. Code § 59.1-196, et seq.;

        yy.    Defendant has engaged in unfair competition or unfair or deceptive acts or

               practices in violation of Wash. Rev. Code § 19.86.010, et seq.; Defendant

               has engaged in unfair competition or unfair or deceptive acts or practices in

               violation of W. Va. Code § 46A-6-101, et seq.;

        zz.    Defendant has engaged in unfair competition or unfair or deceptive acts or

               practices in violation of Wis. Stat. § 100.20, et seq.;

        aaa.   Defendant has engaged in unfair competition or unfair or deceptive acts or

               practices in violation of Wyo. Stat. § 40-12-100, et seq.; and




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                 bbb.   Defendant has engaged in unfair competition or unfair or deceptive acts or

                        practices in violation of 23 L.P.R.A. § 1001, et seq., the applicable statute

                        for the Commonwealth of Puerto Rico.

          205.   Defendant’s conduct constitutes trade or commerce or other actionable activity

within the meaning of the above statutes.

          206.   Each Plaintiff and other Class Member is a consumer or person aggrieved by

Defendant’s misconduct within the meaning of the above statutes.

          207.   To the extent applicable, Defendant knew, intended, or should have known that its

fraudulent and deceptive acts, omissions, or concealment would induce reliance and that reliance

can be presumed under the circumstances. As a direct and proximate result of Defendant’s unfair

methods of competition and unfair or deceptive acts or practices, Plaintiff and other Class

Members have suffered damages– an ascertainable loss – in an amount to be proved at trial.

                                         COUNT VII
                                     UNJUST ENRICHMENT

          208.   Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth

herein.

          209.   As alleged herein, Defendant was unjustly enriched at the expense of Plaintiff and

other Class Members by virtue of the latter’s paying for Defendant’s VCDs.

          210.   Defendant profited immensely from introducing a carcinogen into the United States

for human consumption. On top of that, because Defendant’s VCDs were adulterated and

misbranded, their distribution and sale in the United States was illegal.

          211.   Plaintiff and other Class Members were unjustly deprived of money obtained by

Defendant as a result of the improper amounts paid for Defendant’s VCDs. It would be inequitable

and unconscionable for Defendant to retain the profit, benefit, and other compensation obtained



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from Plaintiff and other Class Members as a result of its wrongful conduct alleged in this Master

Complaint. There is no adequate remedy at law for Plaintiff and other Class members.

          212.   Plaintiff and other Class Members are entitled to seek and do seek restitution from

Defendant as well as an order from this Court requiring disgorgement of all profits, benefits, and

other compensation obtained by Defendant by virtue of its wrongful conduct.


                                           COUNT VIII
                                          NEGLIGENCE

          213.   Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth

herein.

          214.   Defendant owed a duty to Plaintiff and the Class to use and exercise reasonable and

due care in the manufacturing of its VCDs.

          215.   Defendant owed a duty to Plaintiff and the Class to ensure that the VCDs it sold in

the United States were therapeutically equivalent to their RLDs and complied with cGMPs and

were not adulterated or misbranded.

          216.   Defendant owed a duty of care to Plaintiff and the Class because they were the

foreseeable, reasonable, and probable user of VCDs and victim of Defendant’s fraudulent and

deceptive activities. Defendant knew, or should have known, that its VCDs were not

therapeutically equivalent to their RLDs and did not comply with cGMPs and were adulterated

and misbranded, and was in the best position to uncover and remedy these shortcomings.

          217.   Defendant failed to do this. Defendant inadequately oversaw the manufacture and

sale of its own VCDs. Defendant knew that ignoring the manufacturing issues surrounding its

VCDs would damage Plaintiff and the Class and increase its own profits.

          218.   Defendant maintained or should have maintained a special relationship with




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Plaintiff and the Class, as it was obligated to ensure that its VCDs complied with cGMPs and were

not adulterated or misbranded.

          219.   Defendant’s own actions and inactions created a foreseeable risk of harm to

Plaintiff and the Class. Defendant’s misconduct included, but was not limited to, failing to oversee

actions taken in the manufacture and sale of its VCDs.

          220.   Defendant breached duties owed to Plaintiff and the Class by failing to exercise

reasonable care sufficient to protect the interests and meet the needs of Plaintiff and the Class.

          221.   As a direct and proximate result of Defendant’s negligent conduct, Plaintiff and the

Class have suffered injury and are entitled to damages in an amount to be proven at trial.


                                          COUNT IX
                                      NEGLIGENCE PER SE

          222.   Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth

herein.

          223.   Defendant owed a duty to Plaintiff and the Class to use and exercise reasonable and

due care in the manufacturing of its VCDs.

          224.   Defendant owed a duty to Plaintiff and the Class to ensure that the VCDs it sold in

the United States were therapeutically equivalent to their RLDs and complied with cGMPs and

were not adulterated or misbranded.

          225.   Defendant owed a duty to Plaintiff and the Class because each state, territory, and

possession has adopted /or adheres to federal cGMP and adulteration standards, including but not

limited to the following parallel state statutes:

                Alabama Code §§ 20-1-24 and -27(1);
                Alaska Statutes § 17.20.290(a)(1);
                Arizona Statutes §§ 32-1965(1), (2) and -1966(3);


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        Arkansas Code § 20-56-215(1);
        California Health and Safety Code §§ 111295 and 111400;
        Colorado Statutes §§ 25-5-403(1)(a),(b) and -414(1)(c);
        Title 16, Delaware Code §§ 3302 and 3303(2);
        District of Columbia Code § 48-702(2);
        Florida Statutes §§ 499.005(1) and .006(3);
        Georgia Code § 26-3-3(1);
        Hawaii Revised Statutes §§ 328-6(1) and -14(1)(B)(ii);
        Idaho Code § 37-115(a);
        Chapter 410, Illinois Statutes §§ 620/3.1 and /14(a)(2)(B);
        Iowa Code §§ 126.3(1) and .9(1)(c);
        Kentucky Statutes § 217.175(1);
        Maryland Code, Health–General §§ 21-216(c)(5)(2) and -256(1);
        Massachusetts General Laws chapter 94 §§ 186 and 190;
        Minnesota Statutes §§ 151.34(1) and .35(1);
        Missouri Statutes § 196.015(1);
        Montana Code §§ § 50-31-305(3) and -501(1);
        Nebraska Revised Statutes §§ 71-2461(2) and -2481;
        Nevada Statutes § 585.520(1);
        New Hampshire Revised Statutes §§ 146:1(I) and :4(V);
        New Mexico Statutes §§ 26-1-3(A) and -10(A);
        New York Education Law § 6811;
        North Dakota Century Code §§ 19-02.1-02(1) and .1-13(3);
        Ohio Code § 3715.52(A)(1);
        Oklahoma Statutes title 63 § 1-1402(a);
        Title 35, Pennsylvania Statutes § 780-113(a)(1);
        Title 21, Rhode Island General Laws § 21-3-3(1);
        South Carolina Code §§ 39-23-30(a)(2)(B) and -80(A)(1);
        South Dakota Code §§ 39-15-3 and -10;
        Title 18, Vermont Statutes § 4052(1);


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              Virginia Code § 54.1-3457(1);
              West Virginia Code §§ 16-7-1 and -2(a)(3); and
              Wyoming Statutes §§ 35-7-111(a)(i)–(iv), (vi) and -116.

       226.    Defendant failed to comply with federal cGMPs and federal adulteration standards.

       227.    As a result of Defendant’s failures to do so, Defendant’s own actions and inactions

created a foreseeable risk of harm to Plaintiff and the Class.

       228.    As a direct and proximate result of Defendant’s negligent conduct, Plaintiff and the

Class have suffered injury and are entitled to damages in an amount to be proven at trial.


                                          COUNT X
                                     MEDICAL MONITORING

       229.    Plaintiff repeats and re-alleges the preceding paragraphs as if fully set forth herein.

       230.    Defendant owed a duty to Plaintiff and the Class Members to use and exercise

reasonable and due care in the manufacturing, testing, distribution, labeling, marketing, warnings,

disclosures, and sale of its VCDs.

       231.    Defendant owed a duty to Plaintiff and the Class Members to ensure that the VCDs

it sold in the United States were not contaminated, contained only the ingredients stated in the

label, were therapeutically equivalent to brand Chantix, and/or complied with cGMPs, and/or was

not contaminated or adulterated.

       232.    Defendant owed a duty of care to Plaintiff and the Class Members because they

were the foreseeable, reasonable, and probable users of VCDs. Defendant knew, or should have

known, that its product was contaminated with nitrosamines, did not contain only the ingredients

stated, was not therapeutically equivalent to Chantix and/or did not comply with cGMPs, and/or

were contaminated, adulterated, and Defendant was in the best position to uncover and remedy

these shortcomings.


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       233.    Defendant negligently manufactured and/or distributed and/or sold the VCDs at

issue, causing or failing to detect and prevent contamination with nitrosamines, which are

carcinogens.

       234.    Defendant failed to discharge its duties of reasonable care. Defendant inadequately

conducted or oversaw the manufacture, testing, labeling, distribution, marketing, warnings,

disclosures, and sale of the VCDs. Defendant knew that the aforesaid wrongdoing would damage

Plaintiff and other Class Members.

       235.    Defendant negligently failed to promptly and immediately warn and disclose to

Plaintiff and other Class Members, and the medical and regulatory communities, of the potential

and actual contamination with nitrosamines as soon as it was discovered, delaying notice of this

harmful and potentially fatal toxic exposure to a carcinogen and thus causing continued exposure

to the carcinogenic contamination, and delaying necessary testing, examinations, surveillance, and

treatment.

       236.    Defendant’s negligent or grossly negligent conduct created and then exacerbated

an unreasonable, dangerous condition for Plaintiff and other Class Members.

       237.    Defendant acted with recklessness and willful and wanton disregard for the health

of Plaintiff and other Class Members.

       238.    Defendant’s own unreasonable, negligent actions and inactions were taken or not

taken with willful and wanton disregard for the health of Plaintiff and other Class Members and

created a foreseeable risk of harm to Plaintiff and other Class Members.

       239.    As a direct and proximate result of Defendant’s negligent conduct, Plaintiff and

other Class Members have suffered cellular and genetic injury that creates and/or increases the risk

that Plaintiff and Class Members will develop cancer, necessitating notice to all Class Members,




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sufficient funding for the testing and evaluations of each Class Member, and sufficient funding for

necessary ongoing tests, evaluations, and treatment.

        240.    Plaintiff and Class Members seek compensatory damages for, and the creation of a

fund to adequately finance the costs of, medical monitoring procedures (1) to notify and alert all

people exposed to nitrosamine contaminants as aforesaid of their exposure and the potential

consequences, (2) to provide for necessary testing and screening including but not limited to blood

tests, physical examinations, imaging, colonoscopies, endoscopies, and other similar methods for

examination, biopsies, pathologic, histologic, and oncologic evaluations, oncologic, histologic,

surgical and other necessary medical consultations, (3) to provide for necessary medical and

surgical procedures for diagnosis and treatment, (4) to provide for all necessary evaluations and

treatment, attorneys’ fees, costs, interest, and such further relief as the Court deems equitable and

just.

                                     PRAYER FOR RELIEF
        WHEREFORE, Plaintiff, on behalf of herself and the proposed Class, respectfully

requests that this Court enter an Order:

               A.      certifying this action as a class action;

               B.      appointing Plaintiff as Class Representative, and appointing undersigned

        counsel as Class Counsel to represent the Class;

               C.      declaring that Defendant is liable under each and every one of the above-

        enumerated causes of action;

               D.      awarding appropriate preliminary and/or final injunctive relief against the

        conduct of Defendant described above;

               E.      awarding payment to Plaintiff and Class Members of all damages,

        exemplary or punitive damages, and/or restitution associated with the conduct for all causes


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  of action in an amount to be proven at trial, including but not limited to the full amounts

  paid or reimbursed for the VCDs; the costs to replace or return VCDs because of recalls;

  and/or the increases in the amounts paid for non-adulterated, non-misbranded, VCDs in the

  wake of the recalls;

         F.       awarding attorneys’ fees, expert witness fees, and costs, as provided by

  applicable law and/or as would be reasonable from any recovery of monies recovered for

  or benefits bestowed on the Class Members;

        G.        awarding statutory penalties to the extent available;

        H.        providing for creation of a medical monitoring fund and/or program that is

  reasonably necessary to detect the elevated cancer risk;

         I.       awarding interest as provided by law, including but not limited to pre-

  judgment and post-judgment interest as provided by rule or statute; and

         J.       granting such other and further relief as this Court may deem just, equitable,

  or proper.

                                    JURY DEMAND
  Plaintiff respectfully requests a trial by jury on all causes of action so triable.


  Dated: October 15, 2021

                                          Respectfully Submitted,

                                          TARA EVANS, individually and on behalf of the
                                          putative class members

                                          By: /s/ Paul T. Geske
                                          One of Plaintiff’s Attorneys

                                          Paul T. Geske
                                          Chandne Jawanda (admission pending)
                                          MCGUIRE LAW, P.C.
                                          55 W. Wacker Dr., 9th Fl.


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                                Chicago, Illinois 60601
                                Tel: (312) 893-7002
                                Fax: (312) 275-7895
                                pgeske@mcgpc.com
                                cjawanda@mcgpc.com

                                Ruben Honik (pro hac vice to be filed)
                                David J. Stanoch (pro hac vice to be filed)
                                HONIK LLC
                                1515 Market Street, Suite 1100
                                Philadelphia, PA 19102
                                Tel: 267-435-1300
                                ruben@honiklaw.com
                                david@honiklaw.com




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